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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:19-cv-61292-RKA

  JEREMY BLUMENAUER, individually           :
  and on behalf of all others similarly situated,
                                            :
                                            :
              Plaintiff,                    :
                                            :
        v.                                  :
                                            :
  PETLAND, INC., et al,                     :
                                            :
              Defendants.                   :
  __________________________________________:

       DEFENDANT PETLAND, INC.’S RESPONSE TO ORDER TO SHOW CAUSE

         Defendant, Petland, Inc. (“Petland”), hereby responds to the Court’s Order to Show Cause

  dated July 19, 2019 (ECF No. 13) (the “Order”). Petland respectfully notes that it has filed a

  motion to dismiss demonstrating that Plaintiff’s claims against Petland should be dismissed for

  lack of personal jurisdiction. (ECF No. 15.) This motion would be dispositive of all claims against

  Petland, in which case no stay would be necessary with respect to those claims. Further, the

  Federal Communications Commission’s (“FCC”) forthcoming guidance would not appear to have

  any bearing on the basis for Petland’s jurisdictional motion to dismiss. Petland otherwise agrees

  with the response to the Court’s Order filed by Pooches of Pines, Inc. (ECF No. 14.) There is good

  cause to stay and administratively close this case pending the FCC’s anticipated guidance

  interpreting the statutory definition of an automated telephone dialing system (“ATDS”).

  I.     ARGUMENT

         Jeremy Blumenauer (“Plaintiff”) claims that Petland, along with Pooches of Pines, Inc.

  d/b/a Petland Pembroke Pines (the “Franchisee”), violated the Telephone Consumer Protection

  Act (“TCPA”) by sending him marketing text messages using an ATDS without his consent.
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  (Amended Complaint [D.E. 10], at ¶¶ 11-12.) Plaintiff sues for statutory penalties of $500 to

  $1,500 per text message on behalf of himself and a putative class. (Id., at ¶ 39.) To succeed on

  this claim, Plaintiff must prove Petland and the Franchisee texted him using an ATDS and that he

  did not consent to the receipt of text messages.

         Plaintiff initially alleged that Petland alone sent the subject text messages. (Complaint

  (ECF No. 1) at ¶ 29.) Petland responded by showing that it was not involved in sending, and did

  not direct the Franchisee to send, any text messages to the Plaintiff. (Motion to Dismiss Complaint

  (“Initial MTD”) ((ECF No. 7).) Petland filed an unrefuted declaration in support of its Initial

  MTD. (Declaration of Dale Davis (ECF No. 7-2) (the “Declaration”).) Rather than responding

  with evidence demonstrating a basis for jurisdiction over Petland, see Diamond Crystal Brands,

  Inc. v. Food Movers Int’l, 593 F.3d 1249, 1257 (11th Cir. 2010), Plaintiff filed an Amended

  Complaint based on new allegations that are directly contrary to those in the Declaration. Petland

  has since filed a Motion to Dismiss the Amended Complaint (ECF No. 15), once again directing

  the Court to the unrefuted allegations in the Declaration, which establish that Petland was not

  involved in the sending of the subject text message.

          As the Court noted in the Order to Show Cause, United States District Judge Federico A.

  Moreno recently entered an Order staying another TCPA case filed against the Franchisee. 1

  Specifically, Judge Moreno stayed the Fenwick Action—which alleges that the Franchisee

  violated the TCPA by sending the same text message alleged in this action—pending an FCC

  ruling that would clarify the definition of an ATDS. The Franchisee argued in the Fenwick Action

  that the plaintiff’s case “turns on the definition of an” ATDS and if the FCC’s interpretative




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   Fenwick v. Florida Poet Retailers, Inc. and Pooches of Pines, Inc. d/b/a Petland Pembroke Pines,
  Case No. 19-cv-61080 (S.D. Fla.) (the “Fenwick Action”), Order on Motion to Stay (ECF No. 13).


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  guidance follows the statutory definition of an ATDS, the Franchisee would be entitled to summary

  judgment. (See ECF No. 11 in Fenwick Action at pp. 2, 5.) The same argument applies here.

  Plaintiff’s claim would be defeated in its entirety if the technology allegedly used to transmit these

  text messages does not constitute an ATDS. The Court recently stayed another TCPA action on

  this basis. See Smith v. Curaleaf, Inc., Case No. 0:19-cv-60568-RKA, ECF No. 35 (S.D. Fla.

  entered June 11, 2019).

           As Judge Moreno observed, the FCC is poised to issue interpretative guidance that will

  clarify the definition of an ATDS under the TCPA. Because the anticipated decision may have a

  significant—likely dispositive—impact on the merits of Plaintiff’s TCPA claims, a temporary stay

  pending the FCC’s interpretive ruling: (1) will not unduly prejudice or tactically disadvantage the

  Plaintiff; (2) will likely simplify the issues that may need to be determined at a trial, namely

  whether the technology used to transmit the text messages constitutes an ATDS; and (3) is likely

  to reduce the burden of litigation, as the FCC’s ruling may be dispositive of Plaintiff’s claims. See

  Coatney v. Synchrony Bank, No. 6:16-cv-389-Orl-22TBS, 2016 WL 4506315, at *1 (M.D. Fla.

  Aug. 2, 2016). Additionally, a stay would be consistent with the primary jurisdiction doctrine.

  See Beach TV Cable Co., Inc. v. Comcast of Florida/Georgia, 808 F.3d 1284, 1288 (11th Cir.

  2015).

  II.      CONCLUSION

           Because Petland is not subject to personal jurisdiction in this action, a stay will not be

  necessary as to Petland if the Court grants Petland’s Motion to Dismiss the Amended Complaint.

  Petland respectfully submits that there is otherwise good cause for the Court to stay and

  administratively close this case pending the FCC’s anticipated ruling that would clarify the

  definition of an ATDS.




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                                           Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 25th day of July, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.



                                                              /s/ Ian M. Ross
                                                              IAN M. ROSS

                                          SERVICE LIST

                                   Blumenauer v. Petland, Inc.
                                 Case No. 0:19-cv-61292-RKA
                    United States District Court, Southern District of Florida

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